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|N THE UNETED STATES DISTRICT COURT
FOR THE f\/iiDDt_E DtSTRlCT OF GEORG¥A
ATHENS DEV|SEON

UN|TED STATES OF AMERlC/-\
DOCKET NO.B:OQ-CR-43(CAR)

fitted aLLQ CXA%

\/S.

L)ETR|C MCGOVVAN

 

 

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it is agreed by the United States of Arnerica, by and through its undersigned
attorney, and DETR|C McGOVVAN, hereinafter referred to as “Defendant,” and defendants
undersigned attorney, es follower

(1)

Defendant acknowledges that defendant has reviewed and discussed the
Superseding information against defendant in this matter With defendants attorney and
defendants attorney has expiained to Defendant his understanding of the governments
evidence

(2)

"i"ne defendant understands that defendant is not required to plead guitty, and that
defendant nas the right to pfead not guilty and to elect instead to be tried by jury. Tne
defendant understands that at e jury trial, defendant vvould enjoy a presumption of
innocence and that the government vvoutd have the burden of proving defendants guilt
beyond a reasoneb!e doubt The defendant understands that defendant Woutd be entitted

to the services of a tavvyer at all stages of such a trial. The defendant understands that

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defendant would be entitled to confront and to cross~e)<amine the governments proof, and
tc present witnesses and evidence in defendants own behatf. The defendant understands
that defendant Wcuid have the right to testify in defendants own behaif, but that defendant
could not be compeiied to do so. Defendant has discussed these rights with defendants
attorney. Defendant is satisfied with the services of defendants iawyer. Detendant
knowingty and voluntarily waives defendants right to plead not guilty and to proceed to trial.

The United States Attorney and the Defendant understand and agree that the Court
should consider its sentence in light of the advisory Federal Sentencing Guide|ines, as
expiained in United States v. Boo|<er. 543 U.S. 220, 125 S. Ct.738 (2005). Defendant
knowingly and voluntarily waives any further objections that Defendant may have based
on Booker. Apnrendi v. i\iew Jersev, 530 U.S. 466 (2000), and their progeny. So the
Defendant agrees that at sentencing the Court may determine any pertinent fact by a
preponderance of the evidence and the Court may consider any reliabie information,
including hearsay The Defendant expressty waives any clairn of right to an indictment1 triai
byjury, and/or proof beyond a reasonable doubt on any factuai determinations that pertain

to sentencing in this case.
(3)
Defendant being fu|iy cognizant of defendants rights, and in exchange for the
considerations to be made by the United States as set forth in paragraph (4) be|ovv, agrees

pursuant to Rule ii(c), Federal Rules of Crirninal Procedure, as foliows:

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(A) The defendant is guilty and witt knowingly and voiuntariiy entera plea ofguilty
to Count One of the Superseding |nformation which charges defendant with conspiracy to
possess with intent to distribute a contro|ied substance to wit: cocaine in an amount over
five hundred (500) grams, ali in violation of Title 21, United States Code, Section 846 in
connection With Titie 21 United States Code Section 841(a)(i)and Section 841 (b)(i )(B)(ii)
and Title tB, United States Code, Sectlon 2.

(B) That defendant fully understands that defendants piea of guilty as set forth
in Subparagraph (A), above, wiii subject defendant to a minimum mandatory sentence cf
five (5) years imprisonment to a maximum sentence of forty (4()) years imprisonment a
maximum fine of $2,090,000, or both, and a term of supervised release of four (4) year(s).
Defendant further acknowtedges that the Court is required to impose a mandatory
assessment of $100.00 (per count).

(C) The defendant acknowledges and understands that the Court is not bound
by any estimate of the advisory sentencing range that defendant may have received from
defendants counsel, the government or the Probation Office. The defendant further
acknowledges and agrees that defendant Wiil not be allowed to withdraw defendants piea
because defendant has received an estimated guideiine range from the government
defendants counselr or the Prcbation Office which is different from the advisory guideline
range computed by the Prot)ation Office in the Presentence Report and found by the Court
to be the correct advisory guideline range

(D) The defendant understands fuily and has discussed with defendants attorney

that the Court witt not be abie to consider or determine an advisory guideline sentencing
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range until after a presentence investigative report has been completed The defendant
understands and has discussed with defendants attorney that the defendant wii| have the
opportunity to reviewthe presentence investigative report and challenge anyfacts reported
therein The defendant understands and has discussed with defendants attorney that any
objections or challenges by the defendant or defendants attorney to the F’re-Sentence
Report, the Court's evaluation and rulings on that Report, or the Court’s sentence will not
be grounds for withdrawal of the plea of guitty.

(E) Defendant understands and has discussed with defendants attorney that after
the Court considers the advisory guideline range for this case, the Court will have the
discretion to impose a sentence that is more severe or less severe than the advisory
guideline range.

(F) Defendant agrees to provide a check for the mandatory assessment at the
time of sentencing

(G) The defendant understands that ordinarily Tit|e 18, United States Code,
Section 3742, will in certain cases aitow for a direct appeal after sentencing foltowed by the
Court of Appeals‘ iimited review of a defendants sentence But once this agreement is
accepted and sentence is imposed by the District Court, defendant by this agreement
forever waives any right to an appeai or other collateral review of defendants sentence in
any court However, in the event that the District Court imposes a sentence that exceeds
the advisory guideline range, then the defendant shall retain only the right to pursue a
timer appeal directly to the Court of Appeats after the District Court imposes its sentence

ln the event that the defendant retains the right to a direct appeat, that right is limited to

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appeaiing sentencing issues on!y.

The defendant and the United States Attorney agree that nothing in this piea
agreement shait affect the governments right or obligation to appeal as set forth in Tit|e 18,
United States Code, Section 3742(b). lf, however, the Uniied States Attorney appeals the
defendants sentence pursuant to this statute, the defendant is released from defendants
Waiver of defendants right to appeai aitogether.

(H) The defendant and the government stipulate and agree that there Was no
detected or identified biological evidence obtained during the investigation and prosecution
of the matter Which is subject to Di\i!~\ testing The defendant further agrees that ali
evidence obtained in this investigation and prosecution may be destroyed or returned to its
rightful owner.

(l) Defendant agrees to provide complete, candid, and truthfui statements to law
enforcement officers regarding defendants involvement and the involvement of ai| others
involved in the charges alleged in the present Superseding information as Well as any and
all criminal vioiations about Which the defendant has knowiedge or information and that such
information provided Wiii be pursuant to and covered by this agreement The defendant
further agrees to provide complete, candid, and truthful testimony regarding such matters
in any proceeding The defendant understands that this agreement does not require the
defendant to impiicate any particuiar individual or individuals or to “rnal<e a case," rather it

requires the defendant to be truthful and to testify truthfully Whenever calied upon.

 

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(4)

in exchange forthe consideration set forth in Paragraph (3) above, the United States
Attorney for the l\/liddie District of Georgia agrees as tollows:

(A) That he will accept the plea of guilty by defendant as provided in Paragraph
(3)(A), above, in fuii satisfaction of ail possible federal criminal charges, known to the United
States Attorney at the time of defendants guilty plea, which might have been brought solely
in this district against the defendant The United States Attorney agrees to dismiss the
indictment in exchange for Befendant’s plea of guilty to Count One of the Superseding
information

(B) if the defendant cooperates truthfuliy and completely with the government
including being debriefed and providing truthful testimony, at any proceeding resulting from
or reiated to defendants cooperation, to make the extent of the defendants cooperation
known to the sentencing court if the defendant is not completely truthful and candid innis
cooperation with the Governrnent, the defendant may ice subject to prosecution for perjury,
false statements, obstruction of justice, and/or any other applicabie charge. if the
cooperation is compteted prior to sentencing the government agrees to consider whether
such cooperation qualifies as “substantiai assistance” pursuant to 18 U.S.C. Section 3553(e)
and/or Section 5Ki.i of the advisory Sentencing Guidelines warranting a government
motion at the time of sentencing recommending a downward departure from the advisory
guideline range. if the cooperation is compieted subsequent to sentencing the Governrnent
agrees to consider whether such cooperation qualifies as “substantiai assistance” pursuant

to Ru|e 35(b) of the Federai Ruies of Criminal Procedure warranting the fiiing cfa motion
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for reduction of sentence within one year of the imposition of sentence in either case, the
defendant understands that the determination as to whether defendant has provided
“substantiai assistance” rests soieiy with the Government. Any good faith efforts on the part
of the defendant that do not substantia|iy assist in the investigation or prosecution of another
person who has committed a crime will not result in eithera motion for downward departure
from the advisory guideline range or a Rule 35 motion. in addition, should the defendant
fail to cooperate truthfu|iy and completely with the Government, or it the defendant engages
in any additional criminal conduct, the defendant shall not be entitled to consideration
pursuant to this paragraph

(C) Pursuant to Section iBi.B of the United States Sentencing Guideiines, the
Government agrees that any self-incriminating information which was previously unknown
to the Governrnent and is provided to the government by the defendant in connection with
defendants cooperation and as a result of the defendants plea agreement to cooperate wilt
not be used in determining the advisory guideline range. Further, the government agrees
not to bring additional charges against the defendant with the exception of charges resulting
from or related to vioient criminal activity, as defined in 18 U.S.C. § 924(e)(2)(B)(i), based
on any information provided by the defendant in connection With the defendants
cooperation which information was not known to the government prior to said cooperation
This does not restrict the governments use of information previousiy known or
independently obtained for such purposes

{D) if the defendant affirmatively manifests an acceptance of responsibility as

contemplated by the Sentencing Guidelines, the United States Attorney vviii recommend to

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the Court that the defendant receive a downward adjustment in the advisory guideiine range.
But the decision Whether the defendant Wiii receive any sentence reduction for acceptance
of responsibiiity rests Within the Coun‘s discretion The United States expressly reserves
its right to furnish to the Court intormation, it any, showing that the defendant has not
accepted responsibility including, but not iirnited to, denying his involvement giving
conflicting statements as to his invoivernent, cr engaging in additional criminal conduct
inciuding personal use ot a controlled substance

(5)

Nothing herein limits the sentencing discretion of the Court.

(6)

This agreement constitutes the entire agreement between the defendant and the
United States, and no other promises or inducements have been made, directiy cr indirectiy,
by any agent of the United States, including any Assistant United States Attorney,
concerning any piea to be entered in this case. ln addition, defendant states that no person
has, directly or indirectiy, threatened or coerced defendant to do or refrain trorri doing
anything in connection with any aspect of this case, including entering a plea of guiity.

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As an aid to this Court, the United States Attorney and the defendant by and through
defendants counsei, enter into the foiiowing Stipu|aticn of Fact. This stipulation is entered
into in good faith With all parties understanding that the stipulation is not binding on the
Court. Under U.S.S.G. Po|icy Staterrient Section GBi.¢i(d), this Court may accept this

stipi.iiation as Written or in its discretion With the aid of the Pre-Sentence Report determine

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the facts relevant to sentencing

Subiect to the above paragraph, the United States Attorney and the defendant
stipulate and agree that the to|iowing facts are true and would be proven beyond a
reasonable doubt at a trial:

That from January 1, 2099 through February ii, 2009, DETRIC i\/ECGOVVAN
(hereinatter lviCGO\/VAN) conspired with co-defendant CASEY HUBBARD (hereinaiter
HUBBARD) in the purchase and distribution ct cocaine l\/ICGOWAN obtained the cocaine
from l-IUBBARD and distributed it in Scuth Carolina. HUBBARD’S suppliers were l\/iexicans
who resided in Gwinnett County, Georgia. HUBBARD would drive from his horne in Bishop,
Georgia to a house located at 820 Wyirni|i Road in Norcross, Georgia. Once HUBBARD
returned with the cocaine to Athens, Georgia, MCGOVVAN explained to HUBB/»\RD and
others how to convert a small amount ct cocaine into crack cocaine to ascertained it the
quality ot the cocaine was good. l\/lCGOV\/Ai\l also explained to HUBBARD that he couid
use a carpet cleaner known as “Return” to enhance the conversion process of the cocaine
or to add voiurne to the cocaine HUESBARD fronted cocaine to lVlCGOWAN and when
MCGOWAN distributed it the cocaine either HUBBARD Wou|d go to South Carolina to pick
up the money or MCGOWAN would drive to HUBBARD’S home in Blshop, Georgia to
deliver the money.

A vaiid order for a wiretap was obtained in December 2008 on HUBBARD’S
telephone number (706) 224~3772 and during the pendency ot the wiretap, several phone
conversations and text messages were intercepted between HUBBARD and l\fiCGOV\/AN.

On January 21, 2909, l\flCGOV\/AN using telephone number (864) 553-9653 (subscribed in
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l\/lCGOV\/AN’S girlfriend’s name Lauren Brooke l\/loore) called HUBBARD. During the
conversation, l\/lCGOWAN explained that he was running low in cocaine HUBBARD
expiained to MCGOWAN that he was waiting one hour before calling “Uncie” to see if they
had the cocaine yet. The code name used by HUBBARD and i\/lCGO\/VAN when talking
about HUBBARD’S lvlexican source of cocaine was “Uncle.” During this period of time law
enforcement intercepted numerous phone calls and text messages between HUBBARD and
other known and unknown coconspirators who were waiting for the l\/lexicans source to get
a shipment of cocaine HUBBARED was also calling coconspirators to get drug proceeds
for the cocaine fronted so he could buy more cocaine

On January 23, 2009, MCGOVVAN called HUBBARD to find out if the cocaine was
avaiiai)le yet, HUBBARD responded by stating that he had been told that the cocaine would
be available that same day. On danuary 24, 2009, called HUBBARD again to see if the
Mexicans had received the cocaine HUBBARD responded that he had not heard from them
on his other phone a “Tracfone”l that HUBBARD also used to call his coconspirators Ori
January 31, 2009, l\/lCGOV\/AN called HUBBARD and during the conversation, HUBBARD
informed MCGOWAN that he was getting a call from the i\/lexlcan source and was
wondering what the probiem was then. HUBBARD explained to MCGOWAN that he was
frustrated with the l\/iexicans because he wanted to get the cocaine in one trip and not have
to keep going back and forth. Fifteen minutes later, HUBBARD called l\/lCGOV\/Al\l back and
asked if lVlCGOV\/AN had the money, MCGOWAN said that at that moment he had
$1,700.00 but could get more money if needed HUBBARD replied that he is angry with the

l\/iexicans because HUBBARD wants to gather all the cash and then bring it to the l\/lexicans

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rather than taking the money piece meal l\/lCGOV\/AN and HUBBARD agree to meet so
lVlCGOVi/Al\i can give the money to HUBBARD. l~lUBBARD assured that the lvlexicans will
be providing the cocaine to l-lUBBf-\RD as they promised

On February 2, 2009, HUBBARD called l\ACGO\/VAN to let him know that the
i\/iexicans finally called back but that he (HUBBARD) is still having trouble with his
"Tracfone” and was having a hard time getting in touch with the l\/iexicans. HUBBARD
asked lVlCGO\/VAN about the amount he wanted to get and l\/lCGOV\/Ai\l confirmed that was
what he wanted to buy.

i\/lCGOV\/AN admits that he conspired Wiih HUBBARD and others to obtain cocaine
for resale purposes and admits that he had converted some of the cocaine into crack
cocaine (approxirnately five (5) grams) for HUBBARD to determine the cocaine’s quality

For purposes of relevant conduct under U.S.S.G Section 1B‘i.3, the Defendant and
the government stipulate that the amount of cocaine attributable to him is more than five
hundred (500) grams cocaine but less than one (l) kilograms of cocaine

F~“or purposes of role in the offense under U.S.S.G. Section 3Bt .2 (b), the Defendant
and the Government stipulate a downward departure for minor role is warranted
Furthermore, the Defendant and the government stipulate that an upward departure under

U.S.S.G. Section 2Dt.i (b) regarding firearms is not warranted

 

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(8)
ACCEPTANCE Oi~“ PLEA AGREEMENT
Detendant understands and has fully discussed with defendants attorney that this
agreement sha|i become effective only upon the Court’s acceptance of this agreement and

the Court’s acceptance of the piea ct guilty bythe defendant

SOAGREED this § dayof _` - . . ,2010.

AcFT:No uNlTEo states ATToRNe\/

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TAMARA A. JARR 'TT/
ASSFSTANT UN [TED §T/ATES ATTORNEY

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i, DETRiC MCGOWAN, have read this agreement and had this agreement read to
me by my attorney, REZA SEDGH! i have discussed this agreement with my attorney and

ituiiy understand it and agree to its terms.

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DETRiC i\/iCGO\/VAN

DEFENDANT

i, REZA SEDGHi, attorney for defendant DETR|C i\/iCGOV\/AN, have expiained the

Superseding information and the governments evidence received through discovery and
my investigation of the charge to defendant l believe defendant understands the charge
against defendant and the evidence that wouid be presented against defendant at a triai.

| have read this agreement, have been given a copy of it for my tiie, and have explained it

to defendant To the best of my knowledge and beiiet, defendant understands this

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AT'roRNEY ron DEFENoANT

agreement

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